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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE ‘ ,
WESTERN DIvIsroN USAuszg PH 3'“5

 

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THoMAs a BETTS coRP., ) %BUFhrilPHS
)
Plaintiff/Counter-Defendant, )
)
)
v. ) NO. 02-2953 Ma/An
)
HOSEA PROJECT MOVERS, LLC, )
)
Defendant/Counter-Plaintiff. )

 

ORDER ON PENDING MOTIONS

 

This case arises from the alleged breach of an agreement by
Defendant Hosea Project Movers, LLC (“Hosea”) to transport and
install heavy machinery. Hosea brings counterclaims against
Plaintiff Thomas & Betts Corp. (“Thomas & Betts”) for breach of
contract and breach of good faith arising from the same events.
Before the court are four pending motions: l) Hosea's objections,
filed January 5, 2005, to the magistrate judge's order entered on
December 22, 2004, 2) Hosea's motion for summary judgment, filed
April 13, 2005, 3) Thomas & Betts's motion for summary judgment,
filed on June 30, 2005, and 4) Hosea’s objections, filed July 7,
2005, to the magistrate judge's report and recommendation entered

by the clerk on June 23, 2005.1 The record indicates that each of

 

1 The magistrate judge’s report and recommendation was issued in
response to a referral from this court of Thomas & Betts's “motion for default
judgment, for dismissal of [Hosea‘s] counterclaim and for an award of
attorney’s fees," filed on February 4, 2005.

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these motions has received a timely response. For the foregoing
reasons, the motions for summary judgment are DENIED, and the
magistrate judge's December 22 order is AFFIRMED. In addition, the
court ADOPTS the magistrate judge's June 23 report and
recommendation and, therefore, GRANTS in part and DENIES in part
Thomas & Betts's motion for default judgment, dismissal of Hosea's
counterclaim, and attorney's fees, filed on February 4, 2005.
I. Background

The following facts are taken from the complaint2 and
counterclaim, respectively, or are undisputed. On February 6,
2002, Thomas & Betts entered into a written contract with Hosea
(“the agreement”), in which Hosea was to assist in the transport,
rigging, setup, and installation of, among other items, several
420-ton aluminum die-casting machines owned by Thomas & Betts.
(Compl. I 6.) The agreement required Hosea to provide the
following services: 1) all applicable rigging, millwright,
electrical, and mechanical services, 2) all applicable boxing,
packing, freight, and shipping charges, 3) applicable duty and
transport insurance costs, and 4) setup and installation at Thomas
& Betts’s facility in Monterrey, Mexico. When the agreement was

executed, the machines were located at Thomas & Betts’s facility in

 

2 Thomas & Betts filed an amended complaint on January 18, 2005, which
adds counts for fraudulent inducement, intentional misrepresentation,
rescission, and violation of the Tennessee Consumer Protection Act. Because
the amended complaint adds only the factual allegation that Hosea concealed
its failure to obtain insurance, the court will also consider the factual
allegations in the original complaint.

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Boston, Massachusetts. (Id.)

On or about September 5, 2002, Hosea left one of the die-
casting machines (“Machine No. 1") near Thomas & Betts’s facility
in Monterrey, Mexico. Hosea abandoned Machine No. 1 on a trailer,
unsecured and untethered, in alleged breach of its agreement with
Thomas & Betts. The next day, a subcontractor of a company called
Camionera Regional attempted to move the trailer, and Machine No.
l fell from the trailer and was totally destroyed. (Hosea's Resp.
to Statement of Facts ll 12-19.) Pursuant to the agreement, Hosea
provided a certificate of insurance to Thomas & Betts confirming
that Hosea had obtained insurance on Thomas & Betts's equipment and
machinery for their full market value. (Compl. 1 8.) Thomas &
Betts has made demand on Hosea to pay for the loss of use and fair
market value of Machine No. l, but Hosea has refused to pay for
those losses. Hosea has also refused to make a claim with the
transport insurance carrier for the loss of use and destruction of
Machine No. l, despite Thomas & Betts’s demand that it do so. (Id.
11 9.)

Hosea has partially transported a second die~casting machine
owned by Thomas & Betts (“Machine No. 2") into Mexico. All customs
clearances have been obtained and all duties have been paid for
this machine. Machine No. 2 cleared Mexican customs on November 7,
2002, and has remained at the facility of Hosea’s agent in Mexico

since November 9, 2002. (Id. “ 12.) Hosea refuses to deliver the

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Machine No. 2 to Thomas & Betts’s Monterrey, Mexico facility until
Thomas & Betts pays additional sums that Hosea claims it is due
under the agreement. (Id. 1 13.) Since November 9, 2002, Machine
No. 2 has remained outside, exposed to the elements, on a flatbed
trailer at a location in Mexico, approximately thirty minutes'
travel from the Thomas & Betts facility in Monterrey, Mexico. (Id.
1 16.) These conditions have compromised the proper functioning of
the machine. (Id. 1 17.)

Hosea claims that, when it arrived at Thomas & Betts's
facility in Monterrey, Thomas & Betts denied it the opportunity to
set up Machine No. 1 and, instead, instructed Hosea to park the
trailer carrying the machine and return later when the site was
ready for setup and installation. (Counterclaim 1 lO.) At Thomas
& Betts’s request, Hosea left Machine No. 1 on its trailer. (Id. 1
ll.) On September 6, 2002, without informing Hosea, Thomas &
Betts's employees attempted to move the machine to another part of
the facility and damaged it. (Id. 11 12-13.) Hosea contends that
this was when Machine No. 1 fell off the trailer and was destroyed.
(Id. 1 14.)

On September 6, 2002, Thomas & Betts informed Hosea of the
incident and resulting damage to Machine No. l. (Id. 1 15.) Thomas
& Betts told Hosea that the damage was not Hosea's responsibility
and that Thomas & Betts’s employees had acted recklessly or

negligently in failing properly' to secure the machine to the

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trailer. (Id. 11 16-18.) After this incident, both parties
continued to perform under the agreement for two months. (Id. 1
19.)

On October 23, 2002, Thomas & Betts sent correspondence to
Hosea complaining of the loss and requesting that Hosea make a
clain1 for the loss with its insurance company. In the same
correspondence, Thomas & Betts announced its intention to offset
the amount of damages for the loss of Machine No. l against the
remaining contract price and withhold payment until it was
indemnified for the loss of the machine. (Id. 11 21-22.) On
October 31, 2002, Hosea sent correspondence to Thomas & Betts
denying liability for the damage and requesting that Thomas & Betts
continue performing under the agreement. (Id. 1 23.) Thereafter,
Thomas & Betts advised that it would not make the final payment due
under the agreement, and Hosea withheld final delivery pursuant to
its carrier’s lien and Thomas & Betts's breach of contract. (Id. 1
24.) Since then, Hosea has delivered Machine No. 2 to the
Monterrey facility, and Thomas & Betts has posted a $22,000 bond.
Thomas & Betts now has possession of Machine No. 2. (Id. 1 25-26.)
II. Jurisdiction

Thomas & Betts is a Tennessee corporation with its principal
place of business in Memphis, Tennessee. Hosea is a Kentucky
limited liability company with its principal place cf business in

Newport, Kentucky. The sole member of Hosea is David S. Hosea, who

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is a citizen. of Kentucky. Because the amount in. controversy
exceeds $75,000, the court has diversity jurisdiction under 28
U.S.C. § 1332.

III. Legal Standards
A. Appeals from the Magistrate Judge

This court may reject the magistrate judge's decision about a
nondispositive matter only if that decision is “clearly erroneous
or contrary to law.” 28 U.S.C. § 636(b)(1)(A); Fed. R. Civ. P.

72(a). ee Massev v. Citv of Ferndale, 7 F.3d 506, 509 (6th Cir.

1993). A decision is clearly erroneous when the court “is left with
the definite and firm conviction that a mistake has been
committed.” United States v. United States vasum Co., 333 U.S.
364, 395 (1948). “[T]he clearly erroneous standard only requires
the reviewing court to determine if there is any evidence to
support the magistrate judge's finding and that the finding was
reasonable.” Tri-Star Airlines, Inc. v. Willis Careen Corp. of Los
Angeles, 75 F. Supp. 2d 835, 839 (W.D. Tenn. 1999)(citing Heights
Communitv Congress v. Hillton Realtv. Inc., 774 F.2d 135, 140 (6th

Cir. 1985).
B. Summary Judgment

The party moving for summary judgment “bears the burden of
clearly' and convincingly establishing the -nonexistence of any
genuine issue of material fact, and the evidence as well as all

inferences drawn therefrom must be read in a light most favorable

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to the party opposing the motion.” Kochins v. Linden-Alimak, Inc.,
799 F.2d 1128, 1133 (6th Cir. 1986). The moving party can meet
this burden by pointing out to the court that the respondents,
having had sufficient opportunity for discovery, have no evidence
to support an essential element of their case. See Street v. J.C.

Bradford & CO., 886 F.Zd 1472, 1479 (6th Cir. 1989) .

 

When confronted with a properly supported motion for summary
judgment, the nonmoving party must set forth specific facts showing
that there is a genuine issue for trial. A genuine issue for trial
exists if the evidence is such that a reasonable jury could return
a verdict for the nonmoving party. See Anderson v. Libertv Lobbv,
lngg, 477 U.S. 242, 248 (1986). The party opposing the motion must
“do more than simply show that there is some metaphysical doubt as
to the material facts.” Matsushita Elec. Indus. Co., Ltd. v.
Zenith Radio Corp., 475 U.S. 574, 586 (1986). The nonmoving party
may not oppose a properly supported summary judgment motion by mere

reliance on the pleadings. See Celotex Corp. v. Catrett, 477 U.S.

 

317, 324 (1986). Instead, the nonmoving party' must present
“concrete evidence supporting its claims.” Cloverdale Ecuip. Co.
v. Simon Aerials, Inc., 869 F.2d 934, 937 (6th Cir. 1989). The

 

district court does not have the duty to search the record for such
evidence. See InterRoval Corn. v. Sponseller, 889 F.2d 108, 110-11
(6th Cir. 1989). Nonmovants have the duty to point out specific

evidence in the record that would be sufficient to justify a jury

decision in their favor. See id

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IV. Choice of Law

Hosea argues that Thomas & Betts’s claims are preempted by the
Carmack Amendment to the Interstate Commerce Act, 49 U.S.C. §
14706(a)(1), which provides a damages remedy against an interstate
carrier who loses or damages goods in transport. Thomas & Betts
argues that the Carmack Amendment does not apply to its claims
because 1) Hosea is not a “carrier” for purposes of the statute, 2)
no bill of lading was issued, as required by the statute, 3) the
transportation to be performed under the agreement had already been
completed when the incidents giving rise to this action occurred,
and 4) the damage to the shipment occurred in Mexico, outside the

United States.

The provision of the Carmack Amendment in question reads as

follows:

A carrier providing transportation or service subject to
jurisdiction under subchapter I or III of this chapter
135 [49 U.S.C. §§ 13501 §§ seg. or § 13531] shall issue
a receipt or bill of lading for property it receives for
transportation under this part [49 U.S.C. §§ 1301 §§
seg.]. That carrier and any other carrier that delivers
the property and is providing transportation or service
subject to jurisdiction under subchapter I or III of
chapter 135 or chapter 105 [49 U.S.C. §§ 13501 §§ seg. or
§§ 10501 et seg.] are liable to the person entitled to
recover under the receipt or bill of lading. The
liability imposed under this paragraph is for the actual
loss or injury to the property caused by (A) the
receiving carrier, (B) the delivering carrier, or (C)
another carrier over whose line or route the property is
transported in the United States or from a place in the
United States to a place in an adjacent foreign country
when transported under a through bill of lading and,
except in the case of a freight forwarder, applies to
property reconsigned or diverted under a tariff under
section 13702. Failure to issue a receipt or bill of
lading does not affect the liability of a carrier. A

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delivering carrier is deemed to be the carrier performing
the line-haul transportation nearest the destination but
does not include a carrier providing only a switching
service at the destination.

49 U.S.C. § 14706(a). It is well settled that the Carmack
Amendment preempts state claims “relating to the shipment of goods
by interstate carriers.” Toledo Ticket Co. v. Roadwav Express.
lngg, 133 F.3d 439, 441 (6th Cir. 1998); see also Grehan. v.
American Holidav Van Lines, Inc., 2005 WL 1242061 (E.D. Tenn.
2005). Moreover, the preemptive scope of the Carmack Amendment has

been applied broadly. See id.

Thomas & Betts argues that Hosea was no longer engaged in the
transportation of Machine No. 1. when it was damaged, because the
machine had arrived at its final destination. According to Thomas
& Betts's complaint, Machine No. 1 was still under the control of
Hosea or its agent and had not been moved into Thomas & Betts’s
facility when it fell off its trailer and was destroyed. It is
undisputed.l however, that Tracomsa, a subcontractor of Hosea,
delivered Machine No. 1 on September 5, 2002, and that it stayed at
the Monterrey facility overnight. (Hosea's Resp. to Statement of
Facts 1 9.) The next day, Salvador Aguilera, Hosea's local project
manager, needed to move the trailer containing Machine No. 1. (Id.
1 12.) Thereafter, a company called Camionera Regional attempted
to move the trailer, and Machine No. 1 was damaged in the process,

as described in the complaint. (Id. 11 12-19.)

These undisputed facts show that Machine No. 1 was no longer

being “shipped” when it was destroyedd .Although the parties
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dispute who was legally responsible for Machine No. 1 at that time,
it is clear that, if Hosea was responsible, it was acting in its
capacity as an installer, not as an interstate carrier, of
equipment. Thus, Thomas & Betts's claims arising from the
destruction of Machine No. 1 are not “relat[ed] to the shipment of
interstate goods,” so as to be governed by the Carmack Amendment.
Likewise, the Carmack Amendment is not applicable to Thomas &
Betts's claims arising from alleged misrepresentation in the
formation of the agreement or Hosea's alleged refusal to deliver

Machine No 2.

A federal district court is required to apply the “choice of
law” rules of the state in which it sits. Klaxon Co. v. Stentor
Elec. Mfg. Co., 313 U.S. 487, 496 (1941); Cole v. Mileti, 133 F.3d
433, 437 (6th Cir. 1998). “Otherwise the accident of diversity of
citizenship would constantly disturb equal administration of
justice in coordinate state and federal courts sitting side by
side.” Klaxon, 313 U.S. at 496. Therefore, the court must decide
which state’s law a Tennessee court would apply to the instant

CaSe .

The agreement between Thomas & Betts and Hosea provides that
it will be governed by Tennessee law. Tennessee courts will honor
a choice of law clause if the state whose law is chosen bears a
reasonable relation to the transaction, absent a violation of the
forum state’s public policy. Bright v. Spaghetti Warehouse, Inc.,

1998 WL 205757, at *5 (Tenn. Ct. App. Apr. 29, 1998); Arcata

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Graphics Co. v. Heidelberg Harris, Inc., 874 S.W.2d 15, 27 (Tenn.
Ct. App. 1993). Thomas & Betts has its principal place of business
in Tennessee, and neither party has cited any provision in the
contract that is inconsistent with Tennessee public policy. Thus,
Tennesse bears a reasonable relation to the transactions in
question, and the court will apply' Tennessee law to Thomas &

Betts's contract claims.

Tennessee courts apply the “most significant relationship”
approach of the Restatement (Second) of Conflicts of Laws (the
“Second Restatement”) in deciding which state’s law to apply to
tort claims. Glennon v. Dean Witter Revnolds, Inc., 83 F.3d 132,
136 (6th Cir. 1996) (citing Hatawav v. McKinlev, 830 S.W.2d 53, 59
(Tenn. 1992)). The most significant relationship test looks to:
“(a) the place where the injury occurred, (b} the place where the
conduct causing the injury occurred, (c) the domicile, residence,
nationality, place of incorporation and place of business of the
parties, and (d) the place where the relationship, if any, between
the parties is centered.” SECOND RESTATEMENT § 145(2) (1971).
Generally, “the law of the state where the injury occurred will be
applied unless some other state has a more significant relationship

to the litigation." Hataway, 830 S.W.2d at 59.

Hosea's alleged refusal to deliver Machine No. 2 occurred in
Mexico. The dispute over Machine No. 2, however, arises from a
contract dispute centered in Tennessee and governed by Tennessee

law. Mexico would have little interest in regulating what are

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allegedly tortious self-help measures taken by an American company
to resolve a contract dispute that arose in Tennessee. Because
Tennessee is “the place where the relationship ... between the
parties is centered,” that Restatement factor strongly supports
applying Tennessee law. SECOND RESTATEMENT § 145(2)(d). Further,
neither party is a citizen of Mexico or has its principal place of
business there, suggesting that the third Restatement factor favors
the application of Tennessee law. ldg § 145(2)(c). Because Thomas
& Betts’s tort claims arise directly from, and are bound up with,
a contract dispute governed by Tennessee law, Tennessee has the

most significant relationship to the tort claims, as well.

With the exception of Hosea's arguments about the application
of the Carmack Amendment, both parties base their arguments
exclusively on Tennessee law. Persuasive authority suggests that
the parties' reliance weighs in favor of applying Tennessee law.
See Massachusetts Bav Ins. Co. v. Vic Koenig Leasinq, Inc., 136
F.3d 1116, 1120 (7th Cir. 1998)(“a federal court should apply the
law of the forum state where the parties have not identified a
conflict between two bodies of state law which might apply to their
case”); Crown Foodservice Group, Inc. v. Hughes, 1999 WL 33117269,
at *4, FN 5 (S.D. Ohio 1999)(citing Echo. Inc. v. Whitson Co. Inc.,

52 F.3d 702, 707 (7th cir. 1995)).

For the foregoing reasons, the court will apply Tennessee law

to Thomas & Betts's tort and contract claims.

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V. Hosea's January 5 Objections to the Magistrate Judge's Order

On December 22, 2004, the magistrate judge entered an order
granting in part and denying in part Hosea's motion to compel
discovery from Thomas & Betts. In particular, Hosea objects to the
magistrate judge’s decision that the information sought in Document
Requests Nos. 8-12, about production in Thomas & Betts’s Boston
facility, was irrelevant. Hosea argues that this information is

relevant to “test” Thomas & Betts’s damages claims.

Thomas & Betts claims that, because of its lost manufacturing
capacity, it was forced to outsource the manufacture of certain
goods at a greater cost than it would have incurred manufacturing
the goods itself with the use of Machines No. 1 and 2. As part of
its claim for damages arising from the lost use of those machines,
Thomas & Betts seeks “[t]he difference between the cost paid by
Thomas & Betts for outsourcing the manufacturing and Thomas &
Betts' standard cost of production.” (Resp. to Interrogatory No.
10.) Because the machines in question were to be used at the
Monterrey facility, the “standard cost of production" to be
measured for purposes of this theory of damages is that of the
Monterrey facility, not of the Boston facility. Thus, the
magistrate judge's determination that Document Requests 8-12 are
irrelevant was not clearly erroneous. For the foregoing reasons,
Hosea's objection to the magistrate judge’s order is DENIED, and

the order is AFFIRMED.

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VI. Hosea's July 7 Objections to the Magistrate Judge’s Report

On February' 4, 2005, Thomas & Betts filed a motion for
“Default Judgment, for Dismissal of [Hosea’s] Counterclaim, and for
an Award of Attorney’s Fees.” The court referred that motion to
the magistrate judge for a report and recommendation and, on June
23, 2005, the magistrate judge entered a report and recommendation
granting Thomas & Betts's motion in part and denying it in part.
Specifically, the magistrate judge found that the appropriate
sanction for Hosea's abuse of the discovery process was “that
Plaintiff should be reimbursed for the costs and expenses

associated with the Motion for Default Judgment.” (Order at 8.)

Hosea does not dispute the merits of the magistrate judge's
decision. Consequently, the court ADOPTS the report and
recommendation and GRANTS in part and DENIES in part Thomas &
Betts’s February 4 motion. Instead, Hosea seeks a preliminary
determination that it should not be required to reimburse Thomas &
Betts for its expenses associated with certain filings because
those filings were not “associated with the Motion for Default
Judgment.” Because the court had. not adopted. the magistrate
judge's report and recommendation, Thomas & Betts has not sought
the reimbursement the magistrate judge granted. Thus, Hosea's
objection, to the extent that it can be construed as such, is

DENIED as moot.
VII. Hosea's Motion for Summary Judgment
Hosea seeks summary judgment on the ground that Thomas &

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Betts’s claims are preempted by the Carmack Amendment. As
discussed above, the Carmack Amendment does not apply to Thomas &
Betts's claims. Thus, Hosea's motion for summary judgment is

DENIED.
VIII. Thomas & Betts's Motion for Summary Judgment

Thomas & Betts argues that there are no genuine issues of
material fact and that it is entitled to summary judgment on its
complaint against Hosea. Thomas & Betts seeks summary judgement
that l) Hosea is liable under the agreement for the destruction of
Machine No. 1, 2) Hosea fraudulently induced, or alternatively,
breached the agreement by misrepresenting its intentions to
purchase insurance when it did not do so, and 3) Hosea is liable
for breach of the agreement and/or conversion for its refusal to
tender timely delivery of Machine No. 2. Hosea claims that 1) it
is not liable for the destruction of Machine No. 2 because Thomas
& Betts, not Hosea, was in control of the machine when it was
destroyed, 2) it purchased insurance as required by the agreement,
and 3) it rightfully withheld delivery of Machine No. 2 when Thomas

& Betts refused to pay under the agreement.

“Since the construction of a written contract involves legal
issues, construction of the contract is particularly suited to
disposition by summary judgment.” Campora v. Ford, 124 S.W.3d 624,
628 (Tenn. Ct. App. 2003). Thomas & Betts claims that Hosea's
conduct is contrary to the “detailed proposal to Thomas & Betts

that provided a schedule of its services - a proposal that became

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an express part of the parties’ written contract.” (Memo. in Supp.
of Mot. at 12.) It appears, however, that Thomas & Betts has
submitted only portions of the Proposal and the schedule of
services contained in it. Besides the “Recap of Project,”
containing estimated charges for general categories of services to
be provided, Thomas & Betts's submission does not reference any
services to be provided specifically to Thomas & Betts. Rather, it
contains only generalized statements about Hosea's business model
that might be found in a brochure or other marketing literature.
(See Mot. for. Summ. J. Ex. B.) Additionally, discontinuity in the
Bates numbers within Thomas & Betts's exhibit suggests that pages
of the Proposal are missing.3 It is undisputed that the Proposal
is incorporated by reference in the written agreement. Because
there is reason to believe that the court is without the full text
of the agreement,4 it will not render summary judgment requiring
interpretation of the agreement. Because Thomas & Betts's tort
claims also require interpretation of the agreement,5 the court

will not render summary judgment on these claims.

 

3 It is not suggested that any party has intentionally misled the court
or omitted relevant evidence. Rather, rendering summary judgment on a
contract requires reference to individual contract terms in the context of the
entire agreement, and the court believes that the full text of the agreement
may not be in the record. If the court is mistaken, the parties may correct
it.

4 The Proposal is also not attached to the original or amended
complaint.

5 Thomas & Betts's claim for fraudulent inducement depends on whether,
and to what extent, the agreement required Hosea to purchase insurance.
Thomas & Betts's claim for conversion depends on whether the agreement
required the parties to continue performing after Machine No. 1 was destroyed
and whether Hosea was entitled under the agreement to withhold delivery of
Machine No. 2 if Thomas & Betts ceased to perform.

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IX. Conclusion

For the foregoing reasons, the magistrate judge's order
entered on December 22, 2004 is AFFIRMED over Hosea's objections.
The court ADOPTS the magistrate judge's report and recommendation
granting in part and denying in part Thomas & Betts's February 4
motion for default judgment, dismissal of counterclaims, and
attorneys fees. Hosea's motion for summary judgment is DENIED, and
Thomas & Betts's motion for summary judgment is DENIED without

prejudice.

So oRDE:RED this TWL day of August 2005.

MM»-

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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C.-.e .e°» ‘ -- .-. e» .. := : ..-AA
UNITED STATES DISTRIC COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy cf the document docketed as number 144 in
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